                                                                        cc ? l.t)o h;D
                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA.                                INFORMATION

                    Plaintiff,                           18   u.S.C. S e2r(a)(23)
                                                         18   U.s.C. $ e22(o)
                                                         18 u.s.c. $ e2a@)Q)
                                                         18 u.s.c. $ e24(dx1)
MICFIAEL PAUL DAHLAGER.

                    Defendant.




THE I.INITED STATES ATTORNEY CHARGES THAT:


                                       COUNT      1


                        (Unlawful Possession of   a   Machine Gun)

      On or about February 3, 202I, within the State and District of Miruresota,             and


elsewhere, the defendant,

                            MICIIAEL PAUL DAHLAGER,

did knowingly possess a machinegun, namely two (2) Trigger Control Group Travel

Reducer AR-15 type conversion devices having no manufacturer's markings               or   serial

numbers, all in violation of Title 18, United States Code, Sections 922(o) and924(a)(2).




                                                                             Scnumo
                                                                             t'{AY   20 e0a1,L
                                                                                        COURT MPLS
                                                                          U.S. DISTRICT
United States v. Michael Paul Dahlaqer



                              FORFEITURE ALLEGATIONS

       If convicted of Count I of this Information; the defendant   shall forfeit to the United

States any and     all firearms, ammunition, and accessories involved in such violation,

including the Trigger Control Group Travel Reducer AR-15 type conversion devices

having no manufacturer's markings or serial numbers, pursuant to Title 18, United States

Code, Section 924(d)(l), and Title 28, United States Code, Section 2461(c).




                                                W. ANDERS FOLK
Dated:May 20,2021                               Acting United States Attomey

                                                s/Andrew R. lil'inter


                                                BY: ANDREW R. WINTER
                                                Assistant U.S. Attomey
                                                Attomey ID No. 0232531
